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OAO450 (Rev. 5/85) Judgement in a Civil Case

                                                      UNITED STATES DISTRICT COURT

                        EASTERN                              DISTRICT OF                           OKLAHOMA




                                                                                 AMENDED JUDGMENT IN A CIVIL
                                                                                 CASE
              DANIEL L. JOHNSON
                      V.
          MARTY GARRISON, et al.,                                                Case Number:    CIV-18-152-RAW-SPS




G Jury Verdict. This action came before the Court for a trial by jury. The issued have been tried and the jury has
   rendered its verdict.

X Decision by Court. This action came to trial or hearing before the Court. The issues have been tried or heard and
   a decision has been rendered.

   IT IS ORDERED AND ADJUDGED




                                 Judgment is hereby entered for the defendants and against the plaintiff.




3/19/2021                                                                PATRICK KEANEY
Date                                                                     Clerk


                                                                         s/ A Green
                                                                         (By) Deputy Clerk
